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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------- X

DORRELIEN FELIX and MARGALY FELIX,
individually, and JONATHAN C. MOORE, as
Administrator of the ESTATE OF DAVID FELIX,

                                               Plaintiffs,
                                                                                COMPLAINT
        - against -
                                                                                No. 16-cv-5845
THE CITY OF NEW YORK, a municipal entity;
HAROLD CARTER and VINCENTE MATIAS,
                                                                                JURY TRIAL
individually and in their official capacities as New
York City Police Detectives; the BRIDGE INC., a
domestic not-for-profit organization; and JANE DOE
(as of yet unidentified employee of the BRIDGE),

                                                Defendants.

--------------------------------------------------------------------------- X

        Plaintiff DORRELIEN FELIX and Plaintiff MARGALY FELIX, individually, and

Plaintiff JONATHAN C. MOORE, as Administrator of the Estate of David Felix, by their

attorneys, Beldock Levine & Hoffman LLP, as and for their Complaint, allege as follows:

                                     PRELIMINARY STATEMENT

        1.       This is a civil rights action brought by the family and the estate of David Felix

who was killed by two veteran New York City Police Department detectives on April 25, 2015.

David, who suffered from paranoid schizophrenia, suffered a tragic death that is not an anomaly

in the City of New York. His death was caused by flagrant violations of David’s constitutional

rights, and is representative of this City’s repeated failure to properly protect and treat its most

vulnerable residents: those who are homeless, those who are mentally disabled, and those who

come to New York City seeking refuge.



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        2.       With knowledge of David’s diagnosis, the two veteran detectives entered David’s

apartment without a warrant, causing David to jump out of bed in fear and flee from his own

home. The detectives pursued David, and shot and killed him in the lobby of his apartment

building.

        3.       The apartment was run by the Bridge, a non-profit which provides supportive

housing to New Yorkers struggling with mental health diagnoses. An employee of the Bridge

improperly allowed detectives into the building and into David’s apartment, precipitating the

events that led to his death.

        4.       Mr. Felix’s family and estate now seek redress under 42 U.S.C. § 1983 and New

York State law for the injuries caused by the brutal and malicious unconstitutional conduct of the

detectives involved. They also seek to hold the Bridge accountable for the actions of its

employee.

        5.       Plaintiffs seek (i) compensatory damages for physical injury, psychological and

emotional distress, and financial loss caused by the illegal actions of the defendants; (ii) punitive

damages to deter such intentional or reckless deviations from well-settled constitutional law; and

(iii) such other and further relief, including costs and attorneys fees, as this Court deems

equitable and just.

                                  JURISDICTION AND VENUE

        6.       Jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1343(a)(3) and

(4), as this action seeks redress for the violation of Plaintiffs’ constitutional and civil rights and is

brought under 42 U.S.C. § 1983.




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       7.       Supplemental jurisdiction is conferred upon this Court by 28 U.S.C. § 1367(a)

over any and all state law claims that are so related to the federal claims that they form part of

the same case or controversy.

       8.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1), as this is the

judicial district in which the defendant City of New York and defendant the Bridge maintains

their principal places of business.

                                         JURY DEMAND

       9.       Plaintiffs demand a trial by jury in this action on each and every one of their

claims for which jury trial is legally available.

                                          THE PARTIES

       Plaintiff

       10.      David Felix was 24-years-old Haitian immigrant who, at the time of his death on

April 25, 2015, resided at 538 East 6th Street, New York, New York 10009.

       11.      Plaintiff DORRELIEN FELIX is the father of David Felix. He is a citizen of Haiti

and resides in Port-aux-Prince, Haiti.

       12.      Plaintiff MARGALY FELIX is the mother of David Felix. She is a citizen of

Haiti and resides in Port-aux-Prince, Haiti.

       13.      Plaintiff JONATHAN C. MOORE was appointed by the Surrogate’s Court of

New York County as the Administrator of Mr. Felix’s Estate for purposes of this litigation. He is

a citizen of the United States and of the State of New York and resides in New York County.

       Defendants

       14.      THE CITY OF NEW YORK (the “City”) is a municipal entity created and

authorized under the laws of the State of New York.


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        15.    The City is authorized by law to maintain a police department, and does maintain

the New York City Police Department (“NYPD”) which acts as its agent in the area of law

enforcement and for which it is ultimately responsible. The City assumes the risks incidental to

the maintenance of a police force and the employment of police officers and detectives.

        16.    Defendants HAROLD CARTER and VINCENTE MATIAS (also referred to

herein as the “Defendant Detectives”) are NYPD Police Detectives who unlawfully detained,

assaulted, used excessive force, and/or failed to prevent the use of excessive force on Mr. Felix.

They are sued in their individual and official capacities as NYPD Police Detectives.

        17.    The BRIDGE is a domestic not-for-profit organization, registered to operate in the

State of New York. The BRIDGE provides supportive housing and mental health treatment to

residents of New York City. In carrying out its duties, the BRIDGE was required to ensure that

its personnel were properly trained and that its residents were safe from foreseeable harm.

        18.    JANE DOE was, at all relevant times, an employee employed by the BRIDGE.

She is sued individually and in her capacity as an employee of the BRIDGE.

        19.    At all times relevant herein, defendants HAROLD CARTER and VINCENTE

MATIAS have acted under color of state law in the course and scope of their duties and/or

functions as agents, employees, and/or officers of the City and/or the NYPD, and incidental to

the lawful pursuit of their duties as agents, employees, and/or officers of the City and/or the

NYPD.

        20.    At the times relevant herein, defendants HAROLD CARTER and VINCENTE

MATIAS violated clearly established rights and standards under the United States Constitution,

of which reasonable police officers in their respective circumstances would have known.




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                                      STATEMENT OF FACTS

       David’s Arrival in New York and His Diagnosis of Paranoid Schizophrenia

       21.       In 2007, at the age of 15, David Felix, a citizen of Haiti, fled from his abusive

uncle in Florida to New York City hoping to find a new life.

       22.       When he arrived in New York City, he lived in foster homes until the age of 18.

       23.       David was diagnosed with paranoid schizophrenia. He was aware of his

diagnosis, and struggled for years to obtain proper treatment.

       24.       The Diagnostic and Statistical Manual of Mental Disorders (“DSM”) defines

schizophrenia, paranoid type (commonly known as paranoid schizophrenia) as featuring

delusions and hallucinations. Those individuals diagnosed with the disorder have a high rate of

suicidal ideations.1

       25.       In or about 2011, David was arrested for allegedly stealing an iPhone. He was

held at Rikers Island for seven (7) months, and then transferred to various immigration detention

centers, where he remained for an additional two (2) years.

       26.       David’s illness was severely exacerbated by his detention.

       27.       He developed a serious fear of law enforcement officials and of incarceration.

       28.       As a result, he became suicidal.

       29.       In one instance, he attempted to swallow a battery resulting in a hospitalization.

       30.       David was finally released in or about December 2013 after over two traumatic

years of immigration detention.




       1
           Schizophrenia, DIAGNOSTIC AND STATISTICAL MANUAL OF MENTAL DISORDERS, 99–104 (5th ed. 1994).
                                                        5
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         David’s Arrival at the Bridge

         31.    Upon his release from immigration detention, David attempted to create a better,

more stable life for himself.

         32.    He moved into a homeless shelter and focused on managing his mental health and

stabilizing his life.

         33.    His primary goal was obtaining permanent housing and his GED.

         34.    He worked with a number of non-profit organizations that focused on supporting

homeless youths, particularly those who struggle with mental health issues.

         35.    These organizations helped him manage his illness and receive temporary shelter.

         36.    One such organization helped David obtain a valid visa allowing him to remain in

the United States. He received his most recent authorization on April 2, 2015, days before his

death.

         37.    He joined a church, began volunteering as an outreach worker, and obtained a job

at a Pret a Manger coffee and food store.

         38.    He was known as social and vibrant, and had a particular interest in music,

running, reading, and learning new languages.

         39.    One of the many organizations David worked with referred David to the Bridge, a

non-profit that offers mental health housing licensed and funded by the New York State Office

of Mental Health and New York City Department of Health and Mental Hygiene.

         40.    David began working with the Bridge in or around March 2014.

         41.    The Bridge was aware of David’s paranoid schizophrenia diagnosis, his suicidal

tendencies, and his fear of law enforcement.




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         42.    On April 8, 2014, David was admitted into the Bridge’s Personalized Recovery

Oriented Services Program (PROS).

         43.    PROS is a recovery-oriented program for individuals with serious mental illness.

         44.    The goal of the program is to “integrate rehabilitation services in a way that

facilitates the participants’ abilities to achieve their independent living goals.”

         45.    David attended a number of programs and met with mental health professionals

almost daily in order to obtain his goal of permanent housing.

         46.    On April 29, 2014, David signed a High Risk Safety Plan agreement with the

Bridge in which he agreed that he would consistently meet with a therapist once a week,

regularly take his medication, and meet with a psychiatrist monthly.

         47.    He worked with PROS professionals to achieve his goals.

         48.    He attended meetings within the PROS program focusing on career exploration,

public benefits, and maintenance of his mental health.

         49.    He complied with all of the Bridge’s objectives, meetings, courses, and therapy

sessions.

         50.    On October 29, 2014, the Bridge provided David with his own apartment.

         51.    It was the first time David had a home since his arrival in New York seven years

prior.

         52.    David was provided with a lease and placed in the Bridge’s East Village

Supportive Housing Unit at 538 East 6th Street.

         53.    The building had 20 apartments on six floors, all of which were designated as

supportive housing for the Bridge’s specifically approved clients.




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        54.     The residence was designated by the Bridge as a 24-hour Supervised Community

Residence, which included “24-hour staffing, supervised medication, and an emphasis on skills

training so that residents can move to more independent housing.”2

        55.     The Bridge designated David as a “high risk” patient.

        56.     They were aware he had attempted suicide and had a serious fear of law

enforcement.

        57.     After David moved into an apartment within the Bridge’s East Village Supportive

Housing Unit, he developed a weekly routine within the PROS program, attending almost daily

meetings.

        58.     David attended a number of courses to help him maintain his mental health

treatment, handle stress, and work on obtaining employment.

        59.     He also attended a GED program five days a week.

        60.     On April 16, 2015, David had an in-person meeting with his advisor.

        61.     She reported that David was making good progress.

        62.     David expressed his goal to complete his high school equivalency in order to go

to trade school.

        63.     The following week, he continued his progress by attending another week of

PROS meetings and attended GED preparation courses.

        David’s Death

        64.     In the early afternoon of Saturday, April 25, 2015, Defendants CARTER and

MATIAS arrived at 538 East 6th Street in the East Village neighborhood of New York.

        65.     Defendants CARTER and MATIAS were both veteran NYPD Detectives


        2
           Mental Health Housing, THE BRIDGE, available at http://thebridgeny.org/programs/housing/mental-
health-housing.
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stationed at the 26th Precinct in the Harlem, New York,

       66.     They were looking to speak to David about an allegation that he had stolen a

woman’s purse.

       67.     Upon information and belief, Defendants CARTER and MATIAS did not have a

search warrant or an arrest warrant.

       68.     Upon information and belief, Defendants CARTER and MATIAS had no

knowledge that David was armed or dangerous.

       69.     That afternoon, upon information and belief, Defendant JANE DOE was the sole

employee on duty to protect the residents of 538 East 6th Street.

       70.     In order to gain entry into the building, individuals and guests must ring the bell

outside and, via intercom, request and obtain access from staff members stationed in the

building’s front office.

       71.     Upon information and belief, only permitted visitors were able to obtain access.

       72.     The building was staffed 24-hours a day due to the needs of its vulnerable tenants.

       73.     Upon information and belief, Defendants CARTER and MATIAS rang the

building’s doorbell, spoke to Defendant JANE DOE through the intercom, and demanded entry

into the building.

       74.     Defendant JANE DOE, upon information and belief, allowed Defendants

CARTER and MATIAS into the building without a warrant.

       75.     Defendants CARTER and MATIAS approached Defendant JANE DOE and

requested access to David’s apartment.




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       76.       Defendant JANE DOE informed Defendants CARTER and MATIAS that the

apartment housed individuals with mental illnesses, and that David was diagnosed with paranoid

schizophrenia.

       77.       Upon information and belief, Defendant DOE tried, but failed, to reach a

supervisor.

       78.       Defendants CARTER and MATIAS refused to wait, and demanded that she escort

them to David’s door.

       79.       Rather than declining them access, Defendant JANE DOE complied, escorting the

detectives to the sixth floor, and, using her master key, opened the door to David’s locked

apartment without a warrant or exigent circumstances, allowing Defendants CARTER and

MATIAS into David’s apartment.

       80.       Defendants CARTER and MATIAS entered David’s locked apartment without a

warrant or exigent circumstances.

       81.       David, who was in bed watching television, immediately panicked, jumped out of

his bed, yelled “I’m not going,” and ran down the fire escape.

       82.       Prior to this confrontation initiated solely by the Detective Defendants forcing

their way into the apartment, David Felix posed no immediate threat to anyone.

       83.       David, who had spent over two years incarcerated for allegedly stealing an

iPhone, had a substantiated fear of police and incarceration. David’s fear was well documented

and known by the BRIDGE.

       84.       In fact, the BRIDGE had recognized that David was a “High Risk” due to a

previous suicide attempt while incarcerated at a detention facility.




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       85.      Upon information and belief, Defendants CARTER and MATIAS ran down the

stairs into the lobby of David’s apartment building.

       86.      Upon information and belief, David unexpectedly encountered the two Detectives

in the lobby.

       87.      David Felix was unarmed.

       88.      An altercation ensued and ended with Defendant CARTER shooting David one

time in the chest.

       89.      David lay supine and bleeding on the floor of the lobby of his own apartment

building.

       90.      The detectives called for an ambulance, which arrived at approximately 1:50 p.m.

       91.      EMS officials attempted to resuscitate David.

       92.      David arrived at Mount Sinai Beth Israel Hospital at approximately 2:10 p.m.

       93.      He was transported immediately to the Emergency Room.

       94.      Doctors continued resuscitating David, noting that David had a “weak pulse for 1-

2 minutes.”

       95.      Upon information and belief, David felt the excruciating pain of a bullet wound to

the chest.

       96.      After approximately 20 minutes of attempted resuscitation, doctors declared

David dead at 2:30 p.m.

       A Custom, Policy, and Practice of Failing to Properly
       Handle Individuals with Mental Illnesses

       97.      On April 25, 2015, Defendants CARTER and MATIAS violated NYPD policies

when they encountered David Felix. These violations were a direct result of the City’s deliberate

indifference to individuals deemed emotionally disturbed persons (also known as an “EDP”).

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         98.    Prior to and at the time of the shooting, David Felix was identified by the

Defendant Detectives as a possible EDP. As such, Defendants were required to follow certain

rules and regulations of the NYPD, some of which are outlined in the NYPD Patrol Guide and

which required Defendants to employ particular methods and to otherwise use reasonable care in

their treatment of David Felix.

         99.    Despite the foregoing, Defendant Detectives failed to follow the Patrol Guide and

other generally accepted standards. Instead, they used excessive force, and were otherwise

wantonly reckless in the manner in which they treated David Felix, in complete disregard for the

preservation of his life, and in so doing shot and killed him.

         100.   For example, Section 216-05 of the NYPD Patrol Guide explicitly states: “Do not

attempt to take [emotionally disturbed persons] into custody without the specific direction of a

supervisor” and “attempt to isolate and contain [the person] while maintaining a zone of safety

until arrival of a patrol supervisor and Emergency Service Unit personnel.”

         101.   The Defendant Detectives knew of David’s diagnosis and failed to follow the

Patrol Guide protocol.

         102.   Despite this knowledge of David’s condition, the Detectives deliberately and

intentionally disregarded the directives for dealing with alleged EDPS set out in the Patrol

Guide.

         103.   As a direct and proximate result of their deliberate disregard of Patrol Guide

procedures, David was killed by the Defendant Detectives.

         104.   Upon information and belief, the CITY OF NEW YORK was or should have been

aware of police officers’ past poor treatment of emotionally disturbed persons, yet failed to

adequately screen, train, supervise or discipline police officers regarding the mental health care


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needs of citizens, including but not limited to the maintenance of firearms control, use of

equipment other than guns to restrain persons, evaluation of initial encounters with police

controlling situations with emotionally disturbed persons and adequate medical care. Said

inaction constitutes deliberate indifference that caused the assault and death of David Felix.



           COMPLIANCE WITH NEW YORK GENERAL MUNICIPAL LAW

       105.    Plaintiffs served a Notice of Claim upon the City of New York on July 20, 2015,

within ninety days of the events giving rise to their claims.

       106.    On December 4, 2015, Plaintiff JONATHAN C. MOORE, as Administrator of the

Estate of David Felix, appeared for an examination pursuant to section 50-h of the New York

General Municipal Law.

       107.    On December 4, 2015, Plaintiff DORRELIEN FELIX appeared for an

examination pursuant to section 50 h of the New York General Municipal Law.

       108.    More than thirty days have elapsed since Plaintiffs served their Notice of Claim

and the City has not offered adjustment or payment thereof.

                                FIRST CAUSE OF ACTION
         42 U.S.C. § 1983 – Violations of Fourth and Fourteenth Amendment Rights
                        (against Defendants CARTER and MATIAS)

       109.    Plaintiffs reallege and incorporate by reference each and every allegation set forth

in the foregoing paragraphs as if fully set forth herein.

       110.    In committing the acts and omissions complained of herein, Defendants CARTER

and MATIAS acted under color of state law to deprive Mr. Felix and the Plaintiffs of certain

constitutionally protected rights under the Fourth and Fourteenth Amendments to the United

States Constitution, including, but not limited to:


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               a.      the right to be free from unreasonable search and seizure;

               b.      the right to be free from excessive force;

               c.      the right to be free from deprivation of life and liberty without due process
                       of law; and

               d.      the right to freely associate with one’s family and loved ones.

       111.    Defendants CARTER and MATIAS personally violated these constitutional

rights, or failed to intervene to prevent the violations of these rights even though they had the

ability and opportunity to do so.

       112.    As a direct and proximate result of being deprived of these constitutional rights,

Plaintiffs suffered the injuries and damages set forth above.

       113.    The unlawful conduct of Defendants CARTER and MATIAS was willful,

malicious, oppressive, and/or reckless, and was of such a nature that punitive damages should be

imposed.

                              SECOND CAUSE OF ACTION
         42 U.S.C. § 1983 – Violations of Fourth and Fourteenth Amendment Rights
                            (against the CITY OF NEW YORK)

       114.    Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       115.    The unconstitutional conduct of Defendants CARTER and MATIAS was directly

and proximately caused by de facto policies, practices, and/or customs devised, implemented,

enforced, encouraged and sanctioned by the City whereby written policies are ignored in practice

in favor of de facto policies.

       116.    Defendant CITY OF NEW YORK developed and maintained customs, policies

and practices exhibiting deliberate indifference to the constitutional rights of its citizens, which

caused the violations of David Felix’s rights.

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       117.    It is a custom, policy, and/or practice of the City to conduct inadequate screening

in the hiring of police officers for their propensity for violence and bias against and insensitivity

toward emotionally disturbed persons, to certain religious practices which may be different then

their own.

       118.    The CITY OF NEW YORK developed and maintained a culture of indifference

with respect to emotionally disturbed individuals, and have created a de facto NYPD policy of

brute force. This culture of indifference has existed for years, including, but not limited to, the

following examples:

               a. 1984: Bumpers v. New York City Transit Authority et al.: When Housing
                  Authority Officials asked for NYPD assistance with the eviction of a 66-year-
                  old African American women they knew was mentally disturbed, officers
                  broke in, ultimately shooting and killing Ms. Bumpers.

               b. 2001: Kerman v. City of New York et al.: NYPD officers forcibly entered Mr.
                  Kerman’s apartment without a warrant and, knowing he was mentally
                  disabled, slammed the door against Mr. Kerman’s forehead, then forcibly
                  restrained him.

               c. 2004: Estate of Busch v. City of New York et al.: Six NYPD officers
                  responded to a call regarding a mentally disturbed 29-year-old man with a
                  hammer, and shot him twelve times, killing him instantly.

               d. 2007: Khiel Choppin: The mother of a mentally disabled man called 911
                  seeking assistance to help transport her son to a psychiatric hospital. Choppin
                  was shot and killed by NYPD officers after he attempted to escape by
                  climbing out of his window and holding a hairbrush under his shirt. He was
                  unarmed.

               e. 2008: Negron v. City of New York et al.: When officers responded to a
                  mother’s request for help with her son Iman Morales, who suffered from
                  schizoaffective disorder and had barricaded himself into his apartment, the
                  officers chose to use a Taser when Morales was standing on a ledge, causing
                  him to fall off the ledge to his death.




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                 f. 2012: Francis v. City of New York et al.: On March 15, 2012, Shereese
                    Francis, an unarmed 29 year-old woman, was killed in her own home by
                    NYPD officers summoned by her family to transport her to the hospital for
                    psychiatric evaluation and care. The officers needlessly antagonized Shereese,
                    chased her, and tackled her onto a bed, pressed their weight on her until she
                    suffered cardiac arrest, and then prevented her from receiving appropriate,
                    timely medical care.



                 g. 2012: Bah v. City of New York: Mohamed Bah’s mother called for an
                    ambulance for her son. Rather than an ambulance, police officers arrived and,
                    despite his refusal and his mother’s objections, confronted Bah. The officers
                    refused his mother’s request to let her try and calm him down (as
                    recommended by the NYPD guidelines). After determining Bah was an EDP,
                    NYPD officers with police shields, Tasers, and other weapons surrounded the
                    apartment and forced open Bah’s front door. The officers used a Taser against
                    Bah, fired bean bags at him, and ultimately shot and killed him.

          119.   As a direct and proximate result of the foregoing acts, omissions, systemic

deficiencies and the City’s deliberate indifference, David Felix’s constitutional rights were

violated, because of which he which he suffered substantial damages at an amount to be

determined at trial.

          120.   As a result of the foregoing, Plaintiffs suffered the injuries and damages alleged

herein.

                                   THIRD CAUSE OF ACTION
                          Title II of the ADA and the Rehabilitation Act
                               (against the CITY OF NEW YORK)

          121.   Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

          122.   Defendants discriminated against David Felix by reason of his mental health

disability, denying him the benefits of the services, programs, and activities to which he was

entitled as a person with a mental health disability, including, but not limited to, the right to be

free of discriminatory or disparate treatment by virtue of his mental disability, and to due process

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of the law. As a result, David Felix suffered harm in violation of his rights under the laws and

Constitution of the United States, 42 U.S.C. § 12132 and 29 U.S.C. § 794.

       123.     Defendant CITY OF NEW YORK has failed to comply with the mandates of 42

U.S.C. § 12132 and 29 U.S.C. § 794 in the following areas:

                a. The failure to properly train, supervise, and discipline police officers and
                   detectives regarding crisis intervention techniques for individuals who exhibit
                   the signs and symptoms of mental disabilities;

                b. The failure to provide adequate training and resources for crisis intervention
                   teams of police officers and detectives and others to respond to emergencies
                   involving persons with mental health disabilities;

                c. The failure of police officers and detectives to follow established policies,
                   procedures, directives, and instructions regarding crisis intervention
                   techniques for individuals who exhibit the signs and symptoms of mental
                   health disabilities.

       124.     By all these actions, Defendants have deprived Plaintiffs of rights secured by the

United States Constitution, 42 U.S.C. § 12132 and 29 U.S.C. § 794.

                                FOURTH CAUSE OF ACTION
                           Violations of New York State Constitution
                               (against CARTER and MATIAS)

       125.     Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       126.     CARTER and MATIAS subjected Plaintiffs to the foregoing acts and omissions

without due process of law, thereby depriving the Plaintiffs of rights, privileges, and immunities

guaranteed by Article 1, § 6 and 12 of the New York State Constitution, including, without

limitation, the right to due process and the right to be free from unreasonable searches and

seizures.

       127.     As a direct and proximate result of Defendants’ deprivations of Mr. Felix’s and

Plaintiffs’ rights, privileges, and immunities guaranteed by the New York State Constitution,

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Mr. Felix and Plaintiffs suffered the injuries and damages set forth above.




                                 FIFTH CAUSE OF ACTION
                                      Assault and Battery
                         (against Defendants CARTER and MATIAS)

       128.    Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       129.    Defendants CARTER and MATIAS, without just cause, wilfully and maliciously

used physical force against Mr. Felix, causing his death.

       130.    Defendants CARTER and MATIAS committed the foregoing acts intentionally,

wilfully, and with malicious disregard for Mr. Felix’s rights, and are therefore liable for punitive

damages.

                                 SIXTH CAUSE OF ACTION
                          Intentional Infliction of Emotional Distress
                              (against the Individual Defendants)

       131.    Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       132.    Defendants CARTER and MATIAS, through the foregoing acts, did commit

extreme and outrageous conduct and thereby intentionally, and/or recklessly caused Plaintiffs to

experience severe mental and emotional distress, pain, suffering, and damage to name and

reputation.

       133.    Defendant JANE DOE through the foregoing acts, did commit extreme and

outrageous conduct and thereby intentionally, and/or recklessly caused Plaintiffs to experience


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severe mental and emotional distress, pain, suffering, and damage to name and reputation.

       134.     All of these acts were performed without any negligence on the part of Plaintiffs

and were the proximate cause of injuries to Plaintiffs.

       135.     Defendants committed the foregoing acts intentionally, willfully, and with

malicious disregard for Plaintiffs’ rights and are therefore liable for punitive damages.

                                SEVENTH CAUSE OF ACTION
                                 Negligence/ Premises Liability
                             (against JANE DOE and the BRIDGE)

       136.     Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       137.     Defendant the BRIDGE maintained control over the egress and ingress into the

building.

       138.     Defendant the BRIDGE was aware of the needs of the tenants it housed, and the

added security on account of the tenants to which they catered.

       139.     As a result, Defendant the BRIDGE, either individually or by and through its

agents, servants, and/or employees acted with less than reasonable care and is therefore liable for

the negligent, careless acts and/or omissions, including:

                a. Improperly operating, managing, and maintaining its premises at 538 East 6th
                   Street, New York, NY 10009;

                b. Improperly or negligent training its employees with respect to securing the
                   facility which housed individuals with substantial mental health needs;

                c. Improperly training its employees on proper policy or procedure for entry of
                   unknown persons, including law enforcement agents;


                d. Negligently creating dangerous circumstances by improperly securing the
                   property;

                e. Failing to provide a secure housing facility for “high risk” individuals housed
                   on the property; and
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               f. Failing to otherwise exercise due care with respect to the matters alleged
                  herein.

       140.    Defendant JANE DOE through the foregoing acts, negligently failed to use due

care in the performance of her duties in that she failed to perform her duties with the degree of

care that a reasonably prudent and careful person would have used under similar circumstances.

       141.    All of these acts were performed without any negligence on the part of Plaintiffs

and were the proximate cause of injuries to Plaintiffs.

       142.    As a direct and proximate result of this unlawful conduct, Plaintiffs sustained the

damages herein alleged.

                                EIGHTH CAUSE OF ACTION
                            Negligent Infliction of Emotional Distress
                             (against JANE DOE and the BRIDGE)

       143.    Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       144.    Defendant DOE, as an employee tasked with protecting residents of a supportive

housing building, owed Plaintiffs a duty of care.

       145.    By reason of the foregoing, defendants are liable to Plaintiff DORRELIEN

FELIX and Plaintiff MARGALY FELIX, in their individual capacities, for the negligent

infliction of emotional distress.

       146.    As a result, Plaintiffs suffered emotional distress.

       147.    As a direct and proximate result of this unlawful conduct, Plaintiffs sustained the

damages herein alleged.




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                                 NINTH CAUSE OF ACTION
                           Negligent Hiring, Training, and Discipline
                                     (against the BRIDGE)

        148.    Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

        149.    Defendant the BRIDGE owed a duty of care to David Felix to prevent the conduct

alleged, because under the same or similar circumstances, a reasonable prudent, and careful

person should have anticipated that injury to Mr. Felix or to those in a like situation would likely

result from the foregoing conduct.

        150.    Defendant the BRIDGE, failing to adequately train its employees or employ

enough staff to secure the entrance, negligently failed to use due care in the performance of its

duties in that they failed to perform their duties with the degree of care that a reasonably prudent

and careful non-profit would have used under similar circumstances.

        151.    The BRIDGE knew or should have known through the exercise of reasonable

diligence that the individuals it employed needed to be adequately trained when securing a

facility for the mentally disabled. The BRIDGE’s negligence in screening, hiring, training,

disciplining, and retaining its employees, including Defendant JANE DOE, proximately caused

Plaintiffs’ injuries.

        152.    As a direct and proximate result of this unlawful conduct, Plaintiffs sustained the

damages herein alleged.


                               TENTH CAUSE OF ACTION
                                     Wrongful Death
     (against the Individual Defendants, the CITY OF NEW YORK, and the BRIDGE)

        153.    Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

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         154.   The acts of the Defendants, alleged herein, wrongfully caused the death of David

Felix.

         155.   By reason of the foregoing, Plaintiffs DORRELIEN FELIX and MARGALY

FELIX, the statutory distributees of Mr. Felix’s estate sustained pecuniary and non-economic

loss resulting from the loss of love, comfort, society, attention, services, and support of Mr.

Felix. Defendants are liable for the wrongful death of Mr. Felix.

         156.   As a direct and proximate result of this unlawful conduct, Plaintiffs sustained the

damages herein alleged.

         157.   As a consequence, Plaintiffs have suffered damages in an amount to be

determined at trial.

                               ELEVENTH CAUSE OF ACTION
                                    Respondeat Superior

         158.   Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

         159.   At all relevant times, Defendants CARTER and MATIAS were employees of the

City and were acting within the scope of their employment.

         160.   The CITY OF NEW YORK is therefore vicariously liable under the doctrine of

respondeat superior for the actions of Defendants CARTER and MATIAS set forth herein.

         161.   At all relevant times, Defendant JANE DOE was employed by the BRIDGE and

was acting within the scope of her employment.

         162.   The BRIDGE is therefore vicariously liable under the doctrine of respondeat

superior for the actions of defendant JANE DOE.




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                                     DEMAND FOR RELIEF

       WHEREFORE, Plaintiffs demand the following relief against the defendants, jointly

and severally:

       (a)       compensatory damages in an amount just and reasonable and in conformity with
                 the evidence at trial;

       (b)       punitive damages against the individual defendants;

       (c)       attorneys fees;

       (d)       the costs and disbursements of this action;

       (e)       interest; and

       (f)       such other and further relief as this Court deems just and proper.




Dated: New York, New York
       July 21, 2016

                                                       BELDOCK LEVINE & HOFFMAN LLP



                                                        By:   /s/
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